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AO 245B (Rcv. l lf]é) .ludgment in a Criminai Casc
S'heci l

UNITED STATES DISTRICT COURT

District of Massachusetts

 

 

 

 

 

 

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
v- )
Cleber Rene Rizerio Rocha § Case Nuinber: 1; 17 CR 10043 _ 2 _ LTS
§ USM Number: 00066-138
) Raymond Sayeg Jr.
) ‘Def`endant’s Attorriey _ j '_'Fi
THE DEFENDANT:
m pleaded guilin couni(s) _1_. 2__ _ _ _ __ _ _ _ _ _ _ _ _ ___ _ ___ _ _ _
l:l pleaded nolo contendere to counl(s) _ __ _ _ _ _ _ _ _ _ _ _ __ _
which was accepted by the court.
|:\ was found guilty on count(s) ____ _ _ __ __ _
alter a plea of not guilty.
The defendant is adjudicated guilty of these oil'"enses:
Title & Section Nature of Ofl`ense Offense Ended Count
18 USC § 1956(h) Conspiracy to Launder Money 01/()4/17 l
18 USC § 1956(h) Money Laundering 01/'04/ 17 2
The defendant is sentenced as provided in pages 2 through _l_ _ of this judgment The sentence is imposed pursuant to
the Sentencin,f,l Reform Act of 1984.
[:] The defendant has been found not guilty on count(s)
|:| Count(s) ____ _ |:l is l:l are dismissed on the motion of the United States.

_ _ It is ordered t_hat the defendant_niust notify the Un_iied States attorney for this district within 30 da s of _any change of name, residence,
or mailing address until_all fines, restitution,_costs, and special assessments imposed `t_iy this judgment are fu y paid. If ordered to pay restitution1
the defendant must notify the court and United States attorney of material changes in economic circumstances

218/2018

Date oflmpositizof]udg

Signaturi:_omdgc

 

The Honorable Leo T. Sorokin
Judge, U.S. District Court

 

iamc and Title of.ludge_ _

_EZ,L_?FQQLZW`_

Date

 

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AO 2458 (Rev. 11/16) Judgment in Crirnine| Case
Sheet 2 - lmprisonment

 

Judgment _ Page 2 of
DEFENDANT; Cleber Rene Rizerlo Rocha

CASE NUMBER; 1: 17 CR 10048 - 2 - LTS

IMPRISONMENT

The defendant is hereby committed to the custody of the F ederal Bureau of Prisons to be imprisoned for a total
term of: 33 month(S)

on counts 1 and 2 to be served concurrent|y.

|:l The court makes the following recommendations to the Bureau of Prisons:
Z] The defendant is remanded to the custody of the United States Marsha|.

|:l The defendant shall surrender to the United States Marslial for this district:

l:l at l:l a.m. l:l p.m. on

 

L__l as noti§ed by the United States Marshal.

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

Cl as notitied by the United States Marshal.

l:l as notified by the Probation or Pretrial Services Off'ice.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment
UNITE.D STATES MARSHAL
By

 

DEPUTY UNI'|'ED STATES MARSHAL

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AO 2458 (Rev. l 1/16) .ludgment in a Criminal Case
Sheet 3 _ Supervised Release

 

Judgment_Page __3___ of _1_
DEFENDANT: Cleber Rene Rizerio Rocha
CASE NUMBER: l: 17 CR 10048 - 2 - LTS
SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of : 1 year($)

on counts 1 and 2 to be served concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereaRer, as determined by the court.
m The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of fixture substance abuse. (clieck ifapplimble)
4. m You must cooperate in the collection of DNA as directed by the probation officer. (eheck ifapplicable)

5. I:l You must comply with the requirements of the Sex Offender Registiation and Notification Act (42 U.S.C. § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense (check yappltcable)

6. |:| you must participate in an approved program for domestic violence. (check ifapplicable)

P’!°Z"

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

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AO 2458 (Rcv. 1 ll 16) .ludgmcnt in a Crimina| Casc
Sheet 3A - Supervised Relwse

 

Judgment-Page 4 of ’l
DEFENDANT: Cleber Rene Rizerio Rocha
CASE NUMBER; 1: 17 CR 10048 - 2 - LTS

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission fi'om the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. lf you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employrnent, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours

lO. You must not own, possess, or have access to a fiream'i, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

1 1. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision

U.S. Probation Off`ice Use Only

_A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overview afProbation and Supervised
ReIease Conditi'ons, available at: www.uscourts.gov.

Defendant's Signature Date

 

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AO 24SB(Rev. l 1/16) Judgmcot in a Criminal Case
Sheet 3D - Supervised Release
Judgment-Page 5 of

DEFENDANT: C|eber Rene Rlzerio Rocha
CASE NUMBER: 1= 17 CR 10048 - 2 - LTS

SPECIAL CONDITIONS OF SUPERVISION

1. if ordered deported, you must leave the United States and not to tatum without prior permission of the Secretary of the

Departmeht of l-|omeland Security.
2. You must use your true name and are prohibited from the use of any false identifying information which includes, but is

not limited to, any aliases, false dates of birth, false social security numbers. and incorrect places of birth.

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AO 2455 (Rev. ll."lt)) .ludgment in a Criininiil Case
Sheet 5 _ Crilninal Monetziry Peiiultics

Jiidgiuent _ Page _

DEFENDANT; C|eber Rene Rizerio Rocha
CASE NUMBER; 11 17 CR 10048 - 2 - LTS

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Finc Restitution
TOTALS S 200.00 $ $ S

|:| The determination of restitution is deferred until _ . An Amenried Jirdgmeiri iii rt Cri'im`nni' Case(A0245C) will be entered
after such determinatioii.

E The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payman each pa ce shall receive an approximately ro oitioned ayment, unless specified otherwise in
the priority order or percentage payment column elo\v. l'lowever, pursuant to 18 .S. . § 3664(? , all nonfederal victims must be paid
before the United States is paid.

 

Namc of Pavee Total Loss** Restitution Ordered Prioritv or Percentagc
TOTALS S 0.00 S 0.00

[:1 Restitutioti amount ordered pursuant to plea agreement $

El The defendant must pay interest ori restitution and a fine ofinore than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

C] The court detemiined that the defendant does not have thc ability to pay interest and it is ordered that:
1:| the interest requirement is waived for the |:] fine [:| restitution

[_'_] the interest requirement for the [j fine |Il restitution isiiiodified as follows:

* Justice for Victims of'f`raflickin’ Act of2015, Pub. L. No. 114-22.

** Findings for the total amount 0 losses are required under Cliaptcrs 109A, l 10, | lOA. and 1 |3A ofTitle 18 for offenses committed on or
after September 13. 1994, but before Api‘il 23, 1996.

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AO 2458 (Rev. 1 |/16) .ludgmcnt in a Crimina| Case
Sheet 6 _ Schedu|e of Payments

 

J\.idgment - Page 7 of 1
DEFENDANT: Cleber Rene Rizerio Rocha
CASE NUMBER: 1: 17 CR 10048 - 2 - LTS
SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A |:| Lump sum payment of $ due immediately, balance due
|:| not later than v , or
[:] in accordance with [:| C, |:| D, [] E, or [:| F below; or
B l:l Payment to begin immediately (may be combined with |:l C, l:| D, or U F below); or
C l:l Payment in equal ____ __ (e.g., weekly. momhly, quarlerly) installments Of $ 0Ver a period Of
(e.g., months oryears), to commence n ___ (e.g., 30 or 60 days) after the date of this judgment; or
D l:l Payment in equal *- (e.g., weekly, monihly, quarterly) installments of $ over a period of
(e.g., months or years), to commence _ (e.g., 30 or 60 days) alter release from imprisonment to a
term of supervision; or
E |:] Payment during the term of supervised release will commence within (e.g., 30 ar 60 days) alter release from

imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [:| Special instructions regarding the payment of criminal monetary penalties:

Unless _the cou_.rt ha_s expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
th_e period of imprisonment All criminal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the couit.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
|:l Joint and Severa|

Defendant and Qo-Defendant Names and Case Numbers (including defendant number), Total Arnount, Joint and Several Amount,
and corresponding payee, if appropnate.

l:l The defendant shall pay the cost of prosecution
l:l The defendant shall pay the following court cost(s):

m The defendant shall forfeit the defendant’s interest in the following property to the United States:
Forfeiture as alleged in the lndictment

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) .lVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

